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             EXHIBIT A
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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture


                                             UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Eastern District of Pennsylvania

                  In the Matter of the Seizure of                               )
             (Briefly describe the property to be seized)                       )
               One or More Tons of United States Gold                           )      Case No.
                                                                                )
                                                                                )

                                 WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

To: Any authorized law enforcement officer

      An application by a federal law enforcement officer or an attorney for the government requests that certain property
located in the             Western District           District of                Pennsylvania                  be seized as being
subject to forfeiture to the United States of America. The property is described as follows:
  Approximately one or more tons of gold belonging to, and stolen from, the United States Mint, and located on the Dents Run
  Site, in Elks County, Pennsylvania




    I find that the affidavit(s) and any recorded testimony establish pr~b~ble cause to seize the property.

    YOU ARE COMMANDED to execute this wirrant and seize the property on or before                                                   03/23/2018
                                                                                                                             (not to exceed 14 days)
     flf in the daytime 6:00 a.m. to 10:00 p.m.                 Q.at any time in the day or night because good cause has been established.

   Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

   An officer present during the execution of the warrant must prepare, as required by law, an 'inventory of any property seized
and the officer executing the warrant must promptly return this warrant and a copy of the inventory to the duty magistrate:

    vJ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)                                       ,



    gJ for . 3U          days (not to exceed 30)                0 until, the facts justifying, the later specific date of
                                                                                                                            ---------




Date and time issued:



City and state:          Philadelphia, PA                                                     U.S. Magistrate Judge RichardA. Lloret
                                                                                                           Printed name and title
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AO 109 (Rev. 11/13) Warrant to SeizePropertySubjectto Forfeiture (Page 2)

                                                                              Return
Case No.:                                      Date and time warrant executed:              Copy of warrant and inventory left with:
  18-
Inventory made in the presence of:


Inventory of the property taken:




                              I                                 I                           ,.                            I



                                                                            Certification


   I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judgy.

Date:
                                                                                                  Executing officer's signature



                                                                                                     Printed name and title
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                       lt\   '\

 AO 108 (Rev. 06/09)    \t lcation for a Warrant to Seize Property_Subject to Forfeiture (requesting AUSA Newton

                                          UNITED STATES DISTRICT COURT
                                                                             forthe
                                                           Eastern District of Pe:i;msylvania

                In the Matter of the Seizure of                                  )
             (Briefly describe the property to be seized)                        )
         One or More Tons of United States Gold                                  )
                                                                                 )
                                                                                          Case No.       18-1>&(-- 1     1
                                                                                 )

                                                 APPLICATION FOR A WARRANT
                                          TO SEIZE PROPERTY SUBJECT TO FORFEITURE


        I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the     Western      District of
          Pennsylvania                  is subject to forfeiture to the United States of America under                       18       U.S.C. §
 981(a)(1 )(C) (describe the property):
 Approximately one or more tons of gold belonging to, and stolen from, the United States Mint, and located on the Dents
 Run Site, in Elks County, Pennsylvania                                                                        ·




        The application is based on these facts:
 See attached affidavit.             ·




          0 Continued on the attached sheet.




                                                                                                    FBI Spe~ial Agent Jacob B..Archer
                                                                                                              Printed name and title ·



Sworn to before me and signed in my presence.




Date:


City and state: Philadelphia, PA                                                                U.S. Magistrate Judge Richard A. Lloret
                                                                                                             Printed name and title
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                                            AFFIDAVIT


                I, Jacob B. Archer, having been duly sworn according to law, state as follows:

I.      INTRODUCTION

        1.      I am employed as a Special Agent with the Federal Bureau of Investigation

("FBI"), domiciled in Philadelphia, PA.

        2.     This affidavit is submitted in support of a seizure warrant for a cache of gold

belonging to the United States Treasury, approximately one or more tons of gold, stolen during

the Civil War and most likely in the time period between 1861 and 1863, while in transport from

and/or to a facility of the United States Mint, which was headquartered at that time in

Philadelphia, Pennsylvania, and which is now concealed in an underground cave in the Dents

Run area, Elk State Forest, Elk County, Pennsylvania ("Dents Run Site"), the precise location of

which is found in Attachment A.

       3.      For the reasons stated below, there is probable cause to believe that, in a cave on

the Dents Run Site, approximately one or more tons of gold belonging to, and stolen from, the

United States Mint, in violation of Title 18, United States Code, Section 641, are secreted.

     , 4.      I make this affidavit in support of an Application for a Seizure Warrant for gold

belonging to the United States that is located in a cache secreted in a cave at the Dents Run Site.

This gold is subject to forfeiture pursuant to 18 U.S.C. § 98l(a)(l)(C), as it is property, real or

personal, which constitutes or is derived from proceeds traceable to a "specified unlawful

activity," that is theft of public property or money. This court is authorized to issue the subject

seizure warrant pursuant to Title 18, U.S.C. § 981 (b)(2).
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I.      AFFIANT'S BACKGROUND

        5.      I am employed as a Special Agent with the FBI in Philadelphia, PA. I have been

employed as an FBI Special Agent since February 2009. I am currently assigned to the FBI's

Art Crime Team. I previously was assigned to the FBI's South Jersey Violent Offender and

Gang Task Force and the Camden High Intensity Drug Trafficking Area Task Force. During the

course of my employment as a Special Agent, I have been involved in hundreds of investigations

involving violations of state and/or federal laws concerning theft, fraud, robbery, drugs, and .

homicide, most of which resulted in arrests and many of which involved the use of search

warrants, confidential informants, undercover officers, and physical and electronic surveillance.

        6.     My current assignment to the Art Crime Team involves the investigation of

crimes concerning art and cultural property. As a member of the Art Crime Team, I have

received specialized training in art and cultural property investigations and assist in art related

investigations worldwide in cooperation with foreign law enforcement officials and FBI legal

at):ache offices. I am also a member of the FBI's Evidence Response Team. As a member of the

Evidence Response Team, I have received specialized training about how to collect evidence

supporting FBI investigations in a professional, competent, and systematic manner. I have
                  I                        I                         l                        I

experience collecting numerous types of evidence, to include, but not limited to, fine art, cultural

property, and archaeological evidence in furtherance of Art Crime Team investigations.

III.    BACKGROUND

        7.     This investigation involves a cache of approximately one or more tons of gold,

hidden in an underground cave at the Dents Run Site in Elk County, Pennsylvania that had been

stolen during transport from and/or to a United States Mint facility during the Civil War: FBI

Art Crime team special agents, including me, joined the investigation in early 2018.




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        8.      Three individuals, Person 1, Person 2 and Person 3, were interviewed on several

occasions in 2018. Person 1 and Person 2 are the owners of Company A, a treasure-hunting

company and they provided information about their exploration of a underground cave located on

the Dents Run Site in Elk County, Pennsylvania in which, based on their research and testing, is

located a significant cache of gold. Person 3 is an investigative journalist, formerly with the Wall

Street Journal, who has conducted extensive research on a group known as the Knights of the

Golden Circle ("KGC"), a secret society formed in the mid-19th century in the United States that

sympathized with Confederat� and secessionist causes and used operatives in northern states,

including Pennsylvania, to conduct clandestine activities in furtherance ofKGC and Confederate

goals, including securing money and precious metals, such as gold and silver, for future KGC and

Confederate use.

       9.        As detailed below, I believe that there is probable cause that gold stolen from the

United States during the Civil War, in violation of 18 U.S.C. § 641, is hidden in an underground

cave on the Dents Run Site.


IV.    BASIS FOR INFORMATION IN THE AFFIDAVIT

        10.      The inforrnatiqn in this Affidavit is ba�ed upon my personal :la).owledge,

interviews with Person 1, Person 2, Person 3, as well as information supplied by United States

Mint officials, other government and museum officials, and public documents.

       · 11.     Because this affidavit is prepared for the limited purpose of applying for a seizure

warrant, I have not included all ofthe information obtained during the investigation. I have set

forth only the facts that I believe are necessary to establish probable cause to believe that

property belonging to and stolen from the United States, in violation of Title 18, United States




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Code, Section 641, specifically approximately one or more tons of gold, will be found at the

Dents Run Site in Elk County, Pennsylvania.

V.     INVESTIGATION INTO STOLEN UNITED STATES GOLD IDDDEN AT THE
       DENTS RUN SITE

        12.     I am currently assigned, with other members of the FBI Art Crime Team to an

investigation involving the recovery from the Dents Run Site of approximately one or more tons
                           -                                                   -
of gold stolen while being transported between United States Mint facilities during the Civil

War.

       _A.      Cache of Gold Hidden in Cave at the Dents Run Site.

                (1)    Information from Person 1 and Person 2

        13.     I learned the following from Person 1 and Person 2, father and son:

                a.     Person 1 and Person 2 are natives of Clearfield, Clearfield

County, Pennsylvania, which is south of Elk County, Pennsylvania.

                b.     Since he was a child, Person 1 had heard, from others in the Clearfield

area, folklore that, during the Civil War, Union soldiers, who were carrying a large amount of

United States gold, perhaps twenty-six (26) gold ingots, each weighing approximately fifty (50)

pounds,, from the United States.Mint facility in San Frap.cisco, California to th� United States

Mint headquarters in Philadelphia, Pennsylvania, got lost and were separated in the woqds of Elk

County, Pennsylvania and that several of those soldiers buried the gold in Elk County.

                c.     Person 1, who considers himself to be a "treasure hunter," has spent

over forty years searching for the gold allegedly buried in Elk County, as well as hunting

treasure in other locations.




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                     - --- - ---   -·· · · ---�




                d.        Over these years, Person 1 conducted research into the Elle County

gold follclore and found supporting documentation that gold had been hidden in Elle County

during the Civil War.

               e.         One of the documents found by Person 1 from the archives of the Army

Heritage and Education Center at the Military History Institute in Carlisle, Pa is a typed �tory,

entitled "The Lost Gold Ingot T!easure," that appear_s to be page numbers 98 through 109 of a

book written on or about "the centennial anniversary of the Civil War," and reportedly recounts

a story of the Civil War that had "never been recorded." This account, about a United States

government gold shipment that "came to grief in the part of the Allegheny Mountains known as

the 'Wildcat District,"' provided the following information:

                          (1)           By 1860, annual production of gold in California, Oregon and

Idaho, amounting to six or seven million dollars, helped to "strengthen the sagging economy of

the· Union Government and pay the enormous cost of conducting the war, but, "due to the lack of

transcontinental transportation facilities at that time it was a long dangerous journey overland

from the far west to the Mint in Philadelphia."

                          (2)           "Before the war most gold was carried by ship" to the east," also
    I                               I

"a long and dangerous journey:"

                          (3)           In 1861; "Army detachments, acting under agents of the Treasury

Dept., conveyed gold shipments overland to the railhead at St. Louis, but outlaw gangs,

copperheads (southern sympathizers), Home Guards, guerillas and just plain train robbers, made

it unsafe to ship anything by rail west of Cinncinati and Chicago."

                          (4)           "The gold shipments were made up at Sacramento and traveled

east over the Sierra Range to Truckee Lake, then along the Hum.bolt Ruver to Great Salt Lake,




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 then north to Ft. Bridger, joining the Oregon Trail at Soda Springs, then east through South Pass

 to Ft. Laramie and down the Platte River to Ft. Leavenworth and Westport, then by river boat

 down the Missouri River to Kansas City, then up the Mississippi Rover to St. Louis. Then the

 B&O railroad carried it to Cincinnati, Pittsburgh and Philadelphia. Later, when the Union Army

· gained control of the upper Mississippi Valley, the shipments were sent by boat as far as

 Pittsburgh."

                        (5)    In early June 1863, a caravan of"wagons and armed horsemen,"

 consisting of "two heavy canvas covered freight
                                              .
                                                 wagons, each hauled by. four mules, a smaller

 covered wagon, ... three drivers and eight men on horseback," traveled "_up the old Toby

 (Clarion) River Trail," with "twenty-six black painted ingots or bars of partly refined gold each

 waying 600 oz. Troy weight and worth about ten thousand dollars each," hidden "beneath false

 bottorris of the large wagons," and "a few empty boxes" on the wagons, so that the wagons

 "appear[ed] to be loaded with freight."

                        (6)    The party had "started from Wheeling, West Virginia, and had met

 the packet River Queen at a pre-arranged rendezvous a few miles from Pittsburgh, where the

 gold and dummy freight were transferred to the wagons."
                                                                                         1

                        (7)    This ''ch~nge in the shipping ope~ations," resulted from " a raid by

 a force of Kentucky guerillas led by John Morgan the previous month which had left the

 railroads in southern Ohio in shambles," and War Department "top brass" decided "to sneak the

 gold shipments overland through central Pennsylvania as far as Williamsport."

                        (8)    Named in the story as the leader of this party was Lieutenant

 Castleton, "born in 1825 of a family of famous military men" and a two year attendee of West

 Point, who resigned from West Point "at the beginning of the Mexican War and joined a




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voluntary cavalry outfit organized by his uncle," and had his combat career "ended by a hip

wound and a severe case of malarial fever."

                      (9)      Castleton is described as be<::oming "active in a band of border

ruffians known as Jennison's Jayhawkers" when "trouble started in Kansas in 1855," as having

participated "in several raids on pro-slavery settlements in Kansas and Missouri," and, when the

Civil War started, as serving in the Missouri campaign and then being "transferred to staff

headquarters at Cincinnati."

                      (10)     Also named in the story as a member of this party was Sergeant

Mike O'Rourke, "a brawler" and "a product of the river port towns," who "had joined the

Jayhawker outfit," and had become friends with Castleton, sharing only "a deep hatred for

anything southern."

                      (11)     Also named in the story as a member of the party was Conners,

.who "had served in combat in the Army of the Potomac, had been wounded and was attached to

headquarters at Cincinnati for limited service," and who volunteered for "the treasure escort

party."

                      (12)     The story described the route initially taken by the party as

":following the old Toby Creek Trail," then, three days later, camping nea~ the town of

Ridgeway, then following east "a road that ran much the same as the present Rte. 120, and, two

days later arriving at St. Mary's," where the party obtained "a map of the Wildcat country made

back in 1842 by a survey crew," that "showed a passible road branching off to the south about

ten miles east of St. Mary's," that "went over the mountains and followed a stream down to ·the

Hicks place on the Sinnemahoning."




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                      · (13)   The story then described Castleton becoming ill and paying "an old

woods rat known as Joe" to guide the party, who .took them "up the road beside a stream later

known as Brunner Brook," past old lumber camps in "the Pine Ridge country," with the result

that the party became "helplessly lost" in several days, "had made a complete circle, crossing a

set of tracks they had made twelve hours before," and Joe and two men in the party sneaking

away with two horses.

                        (14)   According to the story, at this point, "the party was camped on a

ridge running north and south just west of the east branch of Hicks Run" and Castleton and

0 'Rourke, refusing "to let the gold out of their possession," decided that "Castleton and five men

would move the packtrain south as fast as Castleton's condition would permit" and "Conners and

two men would start on foot southeast to get help," and "[t]hiswas the last ever seen of

Castleton's party."

                        (15)   The story then describes statements by Conners at an inquest: he,

with "Billy'' and "Sam," had "left camp at daybreak and struck out through the timber east

toward the rising sun"; he instructed Billy to mark trees with a knife so they could find their way

back if needed; from a rocky outcrop, he saw the ridge sloped downgrade to the east "and soon
                                                                                       1

the downslop~ became apparent and ~hortly after midday we 'came to a large spring"; they

followed a brook that started from the spring southeast and came to where it joined Hicks Run;

they crossed the stream and found a faint footpath; the next afternoon, they came to an old

deserted cabin on a bluff near the stream, where Conners left Billy and Sam and continued alone;

the next morning, he "came to a wide valley and a large stream," which he believed to be the

Sinnemahoning; he "went on downstream" and, about one hour later, "call1:e to a· cluster of

buildings on a flat at the junction of a stream coming in from the north"; as he neared the




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settlement, he suddenly "felt dizzy and faint" and the next thing he remembered was waking up

in a bed; a rescue party arrived and, with Conners, they "~tarted up Hicks Run to the forks and

then followed a logging road to the top of the ridge between the two branches," and searched for

the Castleton party once they were on the ridge and, moving north, found, two days later, the

abandoned wagons and a trail of the Castleton party leading off to the southwest, but did not find

any of the Castleton party.

                       (16)   According to the story, a Court of Inquiry was held at Clearfield,

Pennsylvania and an Army Adjutant from Philadelphia presented charges against Castleton and

O'Rourke but, because "Castleton's family held considerable influence in high Army circles,"

the charges were suspended and the hearing postponed.

                       (17)   The story then reports that "Allan Pinkerton, alias Maj or E.A.

Allen, whose famous detective agency was the main source of Army intelligence at the time, was

given the task of finding the lost gold and men, and that Pinkerton convinced the War

Department "that the utmost secrecy was necessary, otherwise the natives and other footloose

adventurers would also be searching for the lost gold, and that was to be avoided at all costs."

                       (18)   According to the story, "several teams of Pinkerton men moved to
                                                                          1

the Sinnemahoning co~try," and "divided the V:,nderness area :from the Driftwood Branch to th;

Bennett Branch of the Sinnemahoning as far west as St. Mary's into sectors and searched them

thoroughly."

                       (19)   The story reports that: in "the summer of 1865, two detectives,

Donivan and Dugan, found two and a half gold ingots buried under a pine stump about four

miles south of the spot where the wagons had been abandoned"; "in 1866 other Pinkerton men

found a pair of the treasure party's mules in the possession of a old man living in Chase Run";
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and, "in 1876, when the Elk-Cameron County boundary was resurveyed, the survey crew found

the scattered bones of from three to five human skeletons near a spring at the head of Bell's

Branch of Dent's Run, about seven miles from the place where the wagons were abandoned."

                          (20)        The story concludes with a report that, at the end of the Civil War,

                      a
Conners was denied discharge and was sent to an outpost "in the far west" and, while still in

the Army, died in Yuma, Arizona in the winter of 1886.

                 f.       Person 1 also found a 1973 article entitled "The Lost Gold Shipment:

Twenty-Six Missing Gold Ingots," by Sandra Gardner - Treasure Magazine, published by the

Mount Zion Historical Society, and an article entitled "Pennsylvania's Lost Gold Ingots," by

Francis X. Scully in the October 1976 issue of Roaming, published in St . Marys, Pennsylvania,

both of which summarized the same facts as in "The Lost Gold Ingot Treasure."

                 g.       Person 1 also received from John Slonaker, who had been the Chief of the

Historical Reference Section of the Army Heritage and Education·Center at the Military History

Institute in Carlisle, Pennsylvania, a cartoon account of this same story that had been published

in the March 18, 1979 issue of the Harrisburg, Pennsylvania newpaper, the Sunday Patriot Ne�s,

and a February 1983 UPI story, entitled "Is Elk County Hiding $4 Million in Gold?"
                                                                                                             I   ,


                 h.       In or about 2004, Person 1 and Person 2 began focusing on the Dents Run

area in Elk County, Pennsylvania as a possible site for this United States gold hidden during the

Civil War.

                                 i.        In November 2010, Person 1 and Person 2, who had received

             permission from the Pennsylvania Department of Conservation and Natural Resources




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 ("DCNR") to search in the Dents Run Site area, located a turtle-shaped cave on the Dents Run

 Site, which they believed to hold the cache of United States gold hidden during the Civil War.

                                  j.      After locating the Dents Run Site cave, Person 1 and Person 2

 and other associates made approximately 300 visits to the site and approximately I 00 entrances

. into the cave, and conducted a series of explora�ions and tests at the cave, including Surface

 Ground Penetrating Radar ("GPR") 1 and a Ground Penetrating Locator metal detector ("GPL") 2

 and very limited drilling, due to DCNR requirements, and made the following observations and

 findings:

                            (1)        The cave contained interior walls, which appeared to be man-made

 stacked stones, and which created at least three separate rooms or chambers in the cave.

                            (2)        There were burn marks on the ceiling of the cave, indicating that a

 fire or fires had been started by humans in the cave.

                            (3)        There were artifacts found near the cave that appeared to be old

 and possibly dating from the 19th century.

                                          ( 4)    GPR and GPL instrument readings taken by Person 1 and

 Person 2 and their associates, measuring, inter alia, the presence of non-ferrous metals

 (metals that do not co:n'tain iron) and metal resistivity, indicated the pr�sence of non-ferrous




           1 Ground penetrating radar devices emit impulses ofradio frequency from an antenna into the earth's
 subsurface. When those radio waves are emitted into the ground, radio waves are then reflected back to the antenna
 from the materials found in the earth's surface. The radio waves, depending on their frequency, travel through
 certain kinds ofsoil, but bounce back, or are absorbed, when they hit other types ofmass. An on board computer
 calculates the signal strength ofthe reflected radio waves, as well as the amount oftime it took for the waves to
 reflect back to the GPR, interprets the way the waves are bounced back or absorbed, and builds a picture from that
 information.
           2 A ground penetrating locator metal detector is an electronic geophysical scientific instrument that measure
 the resistance ofmetals and minerals in the ground. Electrical resistivity is a fundamental property ofa material that
 quantifies how strongly that material opposes the flow ofelectric current. I learned from The Physics Factbook, an
 online open-source encyclopedia of scientific essays, that the resistivity ofgold is approximately 2.44 x 10-8 O· m.


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metal and also indicated that a large quantity ofgold ("the gold cache") and other base metals

were located at the rear ofthe cave.

                         (5)     The depth ofthe gold cache is approximately 5 ½ to 6 feet below

the ground.

                         (6)    Due to the instability of the cave area, the gold cache is not

accessible through the entrance o� interi()r ofthe cave_.

                         (7)     One of Person 1's associates, who was drilling a hole at the

site, briefly caught a glimpse of"gold looking" material.

                         (8)     Specks ofa "gold looking" material, too small to be captured for

subsequent testing, were found on a drill bit after drilling one particular hole.

                         (9)    A drill bit was stuck for an extended period oftime after drilling

       into and cooling in what was believed to be a metal object.

                  k.     After Person 1 published on his website the fact that he believed he had

located a cache of United States gold stolen during the Civil War at the Dents Run Site, an

individual reported to Person 1 that there was a turtle carving on a rock not far from the site.



                  (2)    FBI Investigation

14.    On January 31, 2018, Person 1and Person 2 led FBI Special Agents, including me, to the

Dents Run Site. The FBI used a global positioning satellite tool and marked the approximate

location of the Dents Run Site, the coordinates ofwhich are listed in Attachment A (restricted).



       · 15.      On that same day, while at the Dents Run Site, the FBI operated a "two-box" metal

 detector, manufactured by Discovery Electronics, model TF-900 ("two-box nietal detector"),




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     and that two-box metal detector indicated the presence of non-ferrous metal in an area that was

     approximately five feet by three feet at the Dents Run Site.

           16.      On that same day, while at the Dents Run Site, the FBI, with the assistance of

     Person 2, conducted ground electrical resistivity testing using a KellyCo Ground

     Penetrating Locator metal detector, Model 200 ("GPL 200") and the results of the GPL

     testing at the site indicated resistivity readings of approximately 2.44 x 10-8 Q · m, the same

     resistivity as for gold, in the same area where the two-box metal detector testing indicated the

     presence of non-ferrous metal.

            17.     fu February 2018, the FBI retained the services of RETTEW, fuc. ("RETTEW")

     to complete, at the Dents Run Site, a geophysical survey to detect and delineate high-density or

     metallic anomalies that could include suspected historic relics, as well as a large quantity of

     extremely high-density material, such as gold.

           18.      On February 23, 2018, RETTEW using a microgravity meter, which is capable of

    measuring the force of gravity with great precision, performed a microgravity survey to detect

    and delineate any subsurface density anomalies at the Dents Run Site, which detected at the

    Dents Run Site a large mass, with cross sections with a very large density of approximately
I

    l 7.5g/cm3 , which, ac�ording to RETTEW, is 'consistent with a rocky rubble density of

    approximately 2.0 g/ cm3 surrounding a body with a density of 19 .5 g/ cm3 (the_ density of gold)

    and consistent with a mass having a weight of approximately 8 ½ to 9 tons.

           19.      fu February 2018, I reviewed online a 1972 publication from the Pennsylvania

    Geological Survey, entitled "Pennsylvania Geology," Volume 3/2, that discussed the fact that

    most of the gold in Pennsylvania cannot be seen by the naked eye and is generally only

    recovered through a refining process for other minerals.




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        20.        In March 2018, I conducted a search on the online United States Geological

Survey Mineral Resources Data System ("USGS MRDS") for Pennsylvania locations where

naturally-occuring gold is found, and that search returned only nine results, none of which were

in Elk County, Pennsylvania.

        B.       Cache of Gold Hidden in Cave at the Dents Run Site is the Property of the
                 United States.
                                                                   l          i
                        (1) Information Obtained from Person 3 er aboiiftl e KGC and its Use of
                         "Waybills" as Maps to Hidden Caches

        21.        I learned the following from Person 3, who has done substantial research, and

written a book, on the operations ofKGC:

                   a.       During the Civil War, the KGC, which had been formed in.the mid-19th

century with an objective of a separate confederation of slave states forming a "golden circle,"

operated in the Confederate and Union states.

                 b.         The KGC buried secret caches of weapons, coins, and gold and silver

bullion, much ofwhich was
                       .
                          stolen from robberies of banks, trains carrying payroll of the Union
                                                                                         .


Army during the Civil War and from northern army military posts, in southern, western and

northern states.

                 c.         There is ve�y little written or doc�ented information abo�t where the

Knights of the Golden Circle buried their caches, but the KGC did leave strange symbols and

codes on rocks and trees as guides to where these treasures are located, and created "waybills,"

stories with a mix of fact and fancy that provided detailed "maps" to KGC secret caches.

                 d.         The KGC made extensive use of symbols, including the circle, the rising

sun and the turtle.




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                 e,           Members of the KGC included individuals sympathetic to the Confederate

cause in the.northern Union states, known as "copperheads."

                 f.           The story entitled "The Lost Gold Ingot Treasure" from 1961 fits the.

description of a KGC tlwaybill" as it provides a very detailed tlm;iptl in its telling of an account,

mixing truth and symbols, about the alleged lost federal gold in Dent's Run area, ostensibly a

very large amount of gold taken from a rriule-led United States Army packtrain, and this worded

map leads you to the exact spot at Dent's Run, also mentioning nearby Hick's Run and Trout

Run, where a hidden gold cache is s_ecreted.

                 g.           That story also mentions "copperheads" and relates how the one of the

party was instructed by Conner "to mark trees, ti how they "headed East toward the Rising Sun, ti

and how they "walked in a circle," all of which are likely references to the KGC and its modus

operandi.

                 h.           It is very likely that Castleton and O'Rourke are fake names, and are in

fact, code (Castle and Rook), with Castleton clearly being used as a pointer, as "castle" was the

core organizing unit of this secret subversive organization and "rook" was a local unit of that

organization.
                          I                           I                        I                         f

                 i.           It is very likely that the reported turtle carving on a rock near the Dents

Run Site is a KGC marker for that site.

                 (2)          Corroboration of "The Lost Gold Ingot Treasure" as a "Waybill" to
                              stolen United States gold

        22.      I have found the following information to corroborate factual information in the

story, "The Lost Gold Ingot Treasure," and, thus, corroborate the likelihood that the gold cache

at the Dents Run Site is United States gold that was stolen during transport between United

States Mint facilities~


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                   a.         A researcher with the National Archives, Mid-Atlantic Region, responded

  to my request for records relating to shipments of gold from the United States Mint facility in

  San Francisco, California to the United States Mint headquarters in Philadelphia, Pennsylvania

  with the following:

                              (1)    A congressional resolution bearing the signature of Thomas

  Jefferson, indicated President George Washington's approval of the resolution that established

  the United States Mint in Philadelphia in 1791.

                              (2)    I learned that the United States Mint purified large quantities of

  gold during the Civil War, and records from the National Archives for the year ending in 1863

  show that there was significant production of troy ounces· of gold at the United States Mint

  facility at San Francisco during that time period.

                              (3)    A letter, dated May 1863, discusses the removal of an employee

  from the United States Mint facility in San Francisco for theft of gold bullion from the Melter

  and Refiner of the United States Mint at San Francisco, corroborating the fact that bullion was

  refined at that facility.

                              (4)     Several bills oflading show that goods were exchanged, via ship

  and a land passage over the Panam'a isthmus, between the United States Mint facility in San

· · Francisco, California and the United States Mint headquarters in Philadelphia, Pennsylvania in

  1863, corroborating the fact that shipments between the two facilities took place.

                  b.          I learned from the United States Mint website the following information

  about the history of the United States Mint:

                              (1)    Under President Andrew Jackson, following rapid growth in the

  south resulting from the discovery of gold in the early 1800s, United States Mint facilities in




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 New Orleans, Charlotte, and Dahlonega were authorized in 1835 to complement the Philadelphia

 facility, with all three of these facilities closing after the Civil War.

                         (2)     As a result of the settling and expansion of the West, driven by the

 discovery of gold in California, United States Mint facilities were opened in San Francisco in

 1854 and Denver in 1863.

                         (3)     The United States.Mint's administrative headquarters were moved

 from Philadelphia to Washington, D.C. in 1873.

                 c.      I learned from representatives of the United States Mint that, during the

 Civil War, the only entity possessing large amounts of purified gold in the United States was the

 United States Mint.

                 d.      I learned, from the American Numismatics Society, that there were no

 records of large scale private mint producers during the Civil War and my research has not

 uncovered any private mints operating during the Civil War that would have been capable of

 producing large amounts of purified gold and, thus, it is highly likely that any large amounts of

 purified gold during this time period would be United States property.

                 e.      I learned from Anna Lucas Meyer, the Manager for the Wells Fargo

 Corporate Archives; that Wells Fargo records for the period preceding and during the Civil W~r

 indicate that, because gold is very heavy, large shipments of gold or shipments going long

 distances were better transported by ship (steamboat or clipper) or by train when available, and

. Wells Fargo records do indicate the United States Mint facility in San Francisco did ship gold by

 Wells Fargo to Treasury Department Assay offices in New York on occasion by sea, but no

 records exist in the Wells Fargo collections for any such a shipment in 1863.




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                f.     I reviewed National Archive records for the military service for Arthur

Conner, which show that he enrolled in the United States Anny in Clearfield County,

Pennsylvania in 1-861 and was discharged in November 1862, but muster rolls also show that he

was in service until June 1864, he was mustered back into service in November 1864 and that he

was transferred to Yuma, Arizona on March 19, 1865, corroborating the story's report that, at the

end of the Civil War, Conner was denied a discharge and was sent to an outpost "in the far west"

and, while ·still in the Anny, died in Yuma, Arizona in the winter of 1886.

                g.     On a website entitled "Jennison's Jayhawkers, hosted by the Kansas City

Historical Society, I found an article that stated that the Seventh Kansas Cavalry was organized

on October 28, 1861 at Fort Leavenworth, Kansas under the command of Colonel Charles R.

Jennison, was immediately ordered into the field, and was discharged from service on September

29, 1865.

                h.     An article on the Civil War Trust website described John Morgan's raids

for the Confederacy during the Civil War, quoting an August i 862 edition of Harper's Weekly in

which Morgan was described as a "guerrilla, and bandit" with "predatory instincts," and his men

were characterized as "a band of dare-devil vagabonds" who spent their time "burning bridges,

tearing up railway tracks, robbing supply trains, and plundering and wasting the few remaining

prosperous portions of Kentucky," and noting that, in the summer of 1863, Morgan launched an

even more audacious raid through Kentucky, Indiana and Ohio, corroborating the reason given in

the story for the transportation of the gold by wagon.

       23.      I learned the following information that corroborates Person 3's information that

the story, "The Lost Gold Ingot Treasure," was a "waybill" or coded map to the stolen United

States gold cache at the Dents Run site.




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                                                ------ ·· · · -- · -- -------------   ·----------- ·---   -
                                                                                                          -




                a.         I have been to the Dents Run Site and reviewed maps of the region and I

have observed that there is a ridge running north and south of the ·east branch of Hicks Run,

which is just north of the site, corroborating the statement in the story that, at the time Conners

left, "the party was camped on the ridge running north and south j1.1-st west of the east branch of

Hicks Run."

               b.          I made online inquiries on the National Park Service's Civil War Soldiers

and Sailors System, through which records for every soldier who served during the Civil War,

for the Union or the Confederacy, can be viewed and I was not able to locate any records for a

Lieutenant Castleton or a Michael O'Rourke, further corroborating Person 3's information that

these names were used as code.

               c.          I learned from Suzanne Christoff, Associate Director for the Unique

Resources, United States Military Academy Library, West Point, New York, that West Point had

no academy records for anyone named Castleton, again further corroborating Person 3's

information that this name was used as a code.

               d.          Other articles have been published about the stolen United States gold

hidden in Elk County, including:
                       1                           1

                           (1)    an article in the Progress, Clearfield Co{in.ty, Pennsylvania on

October 15, 1975, by Dave Barry with the Associated Press entitled "Lost Treasure Legends,"

that includes "the story of the Dents Run Treasure" and summarizes th� story from "The Lost

Gold Ingot Treasure"; and

                           (2)    an article in the Pr�gress, Clear:fi�ld County, Pennsylvania on

November 27, 1978, entitled "Elk Cqunty Gold in the Hills?" that also summarizes the story




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from "The Lost Gold Ingot Treasure" and states at the end that "[sJome still think the bars may

be cached in one of the region's many rattlesnake infested caves."

                 (3)    Information that has not been corroborated

       24.       I have not been able to corroborate any infonnation about the involvement of

Pinkerton detectives in investigating the stoien United States gold in Elk County, Pennsylvania

as, according to documentation in the Manuscript Division, Library of Congress, many of Allan

Pinkerton's family and business papers burned when the agency headquarters was destroyed in

the Chicago fire of 1871.

       25.       I have not been able to corroborate any delivered, expected or missing shipments

of gold from a United States Mint facility to the United States Mint headquarters in Philadelphia,

Pennsylvania during the Civil War, as, according to Maria Goodwin, the United States Mint

historian, as well as the National Archives, the United States Mint is missing all records from the

Director of the United States Mint for the Civil War period.

VI.    PROBABLE CAUSE

       26.       Based on the observations made and testing done at the underground cave on the

Dents Run Site by Person 1 and Person 2 and their associates, as well as my
          l                        l                       f                       I

observations and testing done by the FBI and RETTEW at the Dents Run Site, I have probable

cause to believe that a significant cache of gold is secreted in the underground cave located at

GSP coordinates on the Dents Run Site. I base this conclusion on the following:

                 a.     GPR and GPL instrument readings taken by Person 1 and Person 2

 and their associates, measuring, inter alia, the presence of non-ferrous metals and metal

 resistivity, indicating the presence of non-ferrous metal and a large quantity of gold and other

 base metals in the rear of the cave;




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                                                                              -




                 b.     the indication of the presence of non-ferrous metal in an area that was

 approximately five feet by three feet at the Dents Run Site from the FBI's operation of the two­

 box metal detector on January 31, 2018;

                 c.     GPL resistivity readings of approximateIy 2.44 x 10-8 Q · m, the same

resistivity as for gold, on January 31, 2018 in the same area where the two-box metal detector

testing indicated the presenc� of non-ferrous metal;

                 d.     Results of microgravity survey conducted by RETTEW on February 23,

 2018, at the Dents Run Site, which detected a large mass, with cross sections with a very large

 density of approximatelyl 7.5g/cm3 , which, according to RETTEW, is consistent with a rocky

 rubble density of approximately 2.0 g/ cm3 surrounding a body with a density of 19.5 g/ cm3

 (the density of gold) and consistent with a mass having an approximate weight of multiple tons;

                 e.     Specks of a "gold looking" material, too small to be capture for

subsequent testing, found by Person 1 and associates on a drill bit after drilling one particular

hole;

                 f.     My review of a 1972 publication from the Pennsylvania Geological

Survey, entitled "Pennsylvania Geology," Volume 3/2, that discussed the fact that most of the

gold in Pennsylvania' cannot be seen by the n�ked eye and is generally only recovered through a

refining process for other minerals; and

                 g.     My search of the online United States Geological Survey Mineral

Resources Data System for Pennsylvania locations where naturally-occurring gold is found, that

returned only nine results, none of which were in Elk County, Pennsylvania.

        27.     Based on information I have received from Person 1, Person 2, Person 3, as well as

                      numerous documents and information from the United States Mint and other




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 sources, I have probable cause to believe that the cache of gold secreted in the underground cave

located at GSP coordinates on the Dents Run Site was stolen from, and belongs to, the United

States. I base this conclusion on the following:

                a.     Results of microgravity survey conducted by RETTEW on February 23,

  2018, at the Dents Run Site, which detected a large mass, with cross sections with a very large

. .density of appr.oximatelyl 7 .5g/cm3, which, according to RETTEW, is consistent with a rocky

 rubble density of approximately 2.0 g/ cm3 surrounding a body with a density of 19.5 g/ cm3

  (the density of gold) and consistent with a mass having an approximate weight of multiple tons;

                b.     Information from United States Mint officials that, during the Civil War,

the only entity possessing large amounts of purified gold in the United States was the United

States Mint;

                c.     Information from the United States Mint that the United States Mint

purified large quantities of gold during the Civil War;

                d.     Information from the American Numismatics Society, that there were no

records oflarge scale private mint producers during the Civil War and my research that did not

uncover any private mints operating during the Civil War that would have been capable of
                                                           1

produc~g large amounts of purified gold, leading to the conclusion that it is highly likely that

any large amounts of purified gold during this time period would be United States property;

                e.     Records from the National Archives for the year ending in 1863 showing

significant production of troy ounces of gold at the United States Mint facility at San Francisco

and a letter, dated May 1863, discusses the removal of an employee from the United States Mint

·facility in San Francisco for theft of gold bullion from the Melter and Refiner of the United

States Mint at San Francisco, corroborating the fact that bullion was refined at that facility.




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                 f.         Bills oflading from the National Archives showing that goods were

exchanged, via ship and a land passage over the Panama isthmus, between the United States

Mint facility in San Francisco, California and the United States Mint headquarters in

Philadelphia, Pennsylvania in 1863, corroborating the fact that shipments between the two

facilities took place.

VII.                  ITEMS TO BE SEIZED FROM THE DENTS RUN SITE_

        28.      Based on my knowledge, training, and experience, as well as the information

obtained in this investigation that is detailed above, I have probable cause to believe that gold, in

the amount of approximately one ton or more, belonging to and stolen from the United States is

secreted in the underground cave on the Dents Run Site and I respectfully request that a seizure

warrant be issued authorizing Special Agents of the FBI and any authorized officer of the United

States to seize all gold found at that site.

XIII .. NECESSITY FOR A SEIZURE WARRANT

        29.      Based on my knowledge, training, and experience, as well as the information

obtained in this investigation that is detailed below, I have probable cause to believe that seeking

prior consent from the Pennsylvania Department of Conservation and Natural Resources
                       ·1                        I                       I

("DCNR") could result in unlawful seizure of the stolen United States gold as abandoned

property by the Commonwealth of Pennsylvania which would necessitate unnecessary litigation

and expense to obtain the return of United States property.

                 a.         I am concerned that, even if DCNR gave initial consent for the FBI to

excavate the cache of gold secreted at the Dents Run Site, that consent could be revoked before

the FBI recovered the United States property, with the result of DCNR unlawfully claiming that




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  that cache of gold is abandoned property and, thus, belongs to the Commonwealth of

 . Pennsylvania.

                   b.     The following interactions between Person 1 and Person 2 and

  the DCNR raises the probability that, if the FBI seeks consent to excavate the cache of gold

  secreted at the Dents Run Site, DCNR or the Commonwealth of Pennsylvania will unlawfully

_ cla.im that that cache of go_ld is abandon§_d property and, thus, belongs_to_ tht3 Commonwealth of

  Pennsylvania, requiring the United States to litigate to recover its property:

                          (1)    In response to a November 1, 2010 email from Person 1 to DCNR

  representative Teddy Borawski, in which Person 1 stated that they had found gold ("very high

  readings of gold") at the Dents Run Site, based on GPL readings, and requested to drill a two

  inch hole and drop a camera into that hole as confirmation of that finding, Mr. Borawski denied

  permission, responding that DCNR "need[ed] to see gold metal on a drill bit in sufficient

  quantity to convince us the bit passed through an object primarily composed of gold metal,"

  ignoring legitimate scientific testing of the presence of a large quantity of gold at the sight.



                         (2)     In 2012, DCNR revoked privileges for Person 1 and Person 2
           I                        I                        I

   to conduct any drilling or excavation tests at the Dents Run Site.

                         (3)     In August and September 2013, a staff member for the

  Pennsylvania legislature, who said that he was acting on behalf of individuals in the state

  government (someone who controlled money going to DCNR and someone working in the

  Pennsylvania governmor' s office), conta�ted and met with Person 1 and Person 2, corruptly

  offering to provide Person 1 and Person 2 a permit to dig at the Dents Run Site, to keep

  DCNRaway from the site until Person 1 and Person 2 had recovered the




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    gold secreted at the site, and to ensure that the Commonwealth of Pennsylvania would not

    claim the recovered gold, in return for three bars of gold or ten percent of what Person 1 and

    Person 2 recovered at the Dents Run Site.

                                 (4)   On October 6, 2015, a camera installed at the Dents Run Site

      captured a Bobcat, believed to be operated by DCNR personnel, excavating in the area of the ..

                Dents Run S_ite at lo_cations that had been marked by Person 1 and Person 2_but which ..

    were not the location of the cache of gold in the underground cave at the Dents Run Site.

    IX.        OPERATION PLAN FOR THE SEIZURE OF UNITED STATES GOLD

               30.     · As detailed below, I have prepared an operation plan for the recovery and seizure

    of the United States gold secreted in the cave that will be :minimally invasive to and around the

    Dents Run Site and protect the health and welfare of the personnel undertaking the recovery and

    seizure.

               31.      There is an unimproved dirt pathway ("pathway"), known locally as "Snooks

    Trail" or "Green Road," approximately seven feet wide and believed to have been created in

    approximately 1969, which directly accesses the Dents Run Site from Dents Run Road. The

    distance along this pathway, from its intersection with Dents Run Road to the Dents Run Site, is
'                            1
    approximately 1,950 feet,·and the pathway continues to increase i:Ii elevation from Dents Run

    Road until reaching the Dents Run Site. See Attachment B (map of surrounding area near

    intersection of Dents Run Road and Greed Road).

           32.         According to a public records search of Elk County property records, this

    pathway crosses the private property of Russell C. Dill, who resides at 1161 Pine Road,

    Kittanning, Pennsylvania and Zelmar Camp, which is an unincorporated association with three

    tr.ustees. According to Garret Osche, who lives in Dents Run, Pennsylvania in close proximity to

    these two locations, these locations are used as hunting cabins. Moreover, Osche advised

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that the Zelmar Camp owners routinely allow people to traverse by foot the pathway from Dents

Run Road en route to Elk State Forest.

        33.      The method to recover the United States gold secreted at the Dents Run Site will

require the use of professional excavation equipment such as a backhoe or a back hoe-type

machine, as well as additional excavation equipment such as sifters, shovels, buck;ets and tents.

The only feasible wayfor this equipment, supplies-and personnel to reach the Dents-Run Site is

via the pathway.

       34.      For the health, safety, and general welfare of all of those participating in this

seizure, the FBI will need to conduct and/or provide for the following on site and/or in the area

of the pathway and Dents Run Road:

                a.      24 hour per day site security, which will be provided by FBI uniformed

police officers, which includes a tent for shelter and site-access control, which will be stationed

near the intersection of the pathway and Dents Run Road;

                b.      adequate lighting of the site, which will be powered by_generators;

                c.      rehabilitation tents at the site where personnel can break, eat, hydrate,

maintain appropriate body temperature, receive medical treatment, and find temporary shelter

from inclement weather;

                d.      all-terrain vehicles (ATVs) for the purpose of carrying personnel,

equipment, supplies, and evidence to and from the Dents Run Site to Dents Run Road;

                e.     portable toilets that will temporarily be installed in the area of

the intersection of the pathway and Dents Run Road;




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                 f.     government vehicles and government- rented vehicles, which will be

needed to move personnel to and from the site each day to lodging as well as provide for

emergency transport of personnel who could be injured during the operation.

        35.      As of February 23, 2018, several dead trees have fallen onto the pathway and one

or more trees has low hanging branches that hinder passage on the pathway and permission is

sought to-be able to cut away-the-dead trees and the low-hanging limbs so that personnel, - - - -

equipment, and supplies can safely make it to and from the Dents Run Site.

        36.      I am requesting a writ of entry across private land along the pathway to reach the

site. As described.above, the entry across this private land is minimally invasive, as both

affected properties are owned by individuals who do not live in Dents Run year-round, the

intrusion by the government is temporary, the terrain is rugged and not professionally

landscaped, and the pathway providing direct access to the Dents Run Site already exists.

       37.       The request to dig on Pennsylvania state forest lands is also minimally invasive

and will be further mitigated by the FBI in the following manner:

                 a.     The FBI will have an archaeologist who is familiar with this area,

generally, on site during the operation to provide expert guidance on the methods and techniques

used to recover the United States property as 'well as any other artifa~ts or items of significant

cultural and/or scientific value;

                 b.     The FBI will ensure that any hole or holes dug during this operation will

be filled and graded to the original condition; and

                 c.     the Pennsylvania DCNR already allows for managed use of its state

forests as is highlighted on its website where the DCNR advises that Elk State Forest is a

"working forest" which provides "a whole suite of uses and values to Pennsylvania citizens" and




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advises that visitors may notice "management practices" such as "Active timber harvests" and

"Natural gas drilling sites."

X.      CONCLUSION

        38.                                                     a
                 As detailed above, there is probable cause that significant cache of gold of

approximately one ton or more, belonging to and stolen from the United States, in violation of

Title 18; United States Code, Section 641 ;-is secreted in an underground cave on the Dents Run:

Site. Therefore, in consideration of the foregoing, I respectfully request the issuance of a warrant

to seize that cache of stolen United States gold.

        39. ·    The property to be seized is located in Elks County, Pennsylvania, within the

Western District of Pennsylvania. However, Title 18 USC Section 98l(b)(3) provides that a·

seizure warrant may be issued by a judicial officer in any district in which a forfeiture action

against the property may be filed under Title 28 USC Section l 355(b )(1) and may be executed in

any district in which the property is found. Title 28 USC Section 1355(b) provides that a

forfeiture action may be brought in the district in which any of the acts giving rise to the

forfeiture occurred.




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       40.      It is also respectfully requested that the Court issue an Order pursuant to which

the Application and Affidavit for the seizure warrant, and all related papers, be filed under seal.

The information contained in these materials is relevant to an ongoing investigation and

premature disclosure of the Application and Affidavit for the seizure warrant and related papers

would substantially jeopardize the effectiveness of the investigation.




                                       Spj al Agent, Federal Bureau of Investigation
SWORN AND SUBSCRIBED BEFORE ME



T:l2;~
RICHARD A. LLORET
UNITED STATES MAGISTRATE JUDGE




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